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                         Exhibit 1
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From:            Allison L. Spruill
To:              Jeff Carruth
Subject:         FW: Remarkable Fort Worth
Date:            Thursday, April 18, 2024 8:47:13 AM




From: Tharpe, Whitney (USATXE) <Whitney.Tharpe@usdoj.gov>
Sent: Friday, April 12, 2024 3:37 PM
To: Allison L. Spruill <allison@bestandspruill.com>; FudgeBernal, Tangla L. (HHS/OGC)
<Tangla.Fudge-Bernal@HHS.GOV>
Cc: Jeff Carruth <jcarruth@wkpz.com>; 'Andy Rye' <andy@steinltc.com>;
joshua@kilgoreproperty.com
Subject: RE: Remarkable Fort Worth

Allison,

We wanted to provide an additional follow-up in response to some issues raised during our call.

CMS is not "closing" the facility. Instead, CMS is terminating the Provider Agreement. Similarly, any
discussions regarding transferring residents relate exclusively to Medicare and Medicaid residents.
To the extent any of these residents choose to remain at the facility via self-pay, private insurance,
or make any other financial arrangements outside of the Medicare/Medicaid context, they are free
to do so.

This is a CMS decision. Should you wish to forward any further written communications to CMS, you
may send them to Vilma or Tangla, and they will route them appropriately.

Thank you,


Whitney Tharpe
Assistant United States Attorney
United States Attorney’s Office
Eastern District of Texas, Civil Division
Office: 903-510-9357
E-Mail: Whitney.Tharpe@usdoj.gov




From: Allison L. Spruill <allison@bestandspruill.com>
Sent: Friday, April 12, 2024 11:33 AM
To: Tharpe, Whitney (USATXE) <WTharpe@usa.doj.gov>; FudgeBernal, Tangla L. (HHS/OGC)
<Tangla.Fudge-Bernal@HHS.GOV>
Cc: Jeff Carruth <jcarruth@wkpz.com>; 'Andy Rye' <andy@steinltc.com>;
joshua@kilgoreproperty.com
Subject: [EXTERNAL] RE: Remarkable Fort Worth
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Whitney:

Thanks for your email. However, if you read my request and Jeff Carruth’s prior request,
we never asked for the termination to be reversed. We asked for the date to be pushed out
in order to allow the CHOW to be completed and to get the new operator in place (the new
operator started yesterday afternoon I believe). CMS policy (and I have probably 50 or 60
cases where this has happened, even in special focus facility cases) is that termination is 6
months from the original survey date, and typically 5 months from the CMS letter – and all
of the cases I’m talking about involved IJ citations. But, it sounds like no matter what we
ask for or what this does to the facility’s residents (I assume you saw what resident Nona
Taggart had to say on the news about it last night), CMS will not work with us. Can you
provide the name of the person at CMS who made the ultimate decision not to extend the
termination date? You asked that we put these inquiries in writing, so here it is. If there are
multiple people, please provide their names and job titles. We would have known this if
they had participated in yesterday’s phone calls. Thank you.


Allison Spruill

From: Tharpe, Whitney (USATXE) <Whitney.Tharpe@usdoj.gov>
Sent: Friday, April 12, 2024 11:21 AM
To: Allison L. Spruill <allison@bestandspruill.com>; FudgeBernal, Tangla L. (HHS/OGC)
<Tangla.Fudge-Bernal@HHS.GOV>
Cc: Jeff Carruth <jcarruth@wkpz.com>; 'Andy Rye' <andy@steinltc.com>;
joshua@kilgoreproperty.com
Subject: RE: Remarkable Fort Worth

Allison,

HHS/OGC communicated the sentiments and concerns set forth in your written communications to
CMS. CMS has indicated to HHS/OGC that the decision to terminate the provider agreements will
not be reversed.


Whitney Tharpe
Assistant United States Attorney
United States Attorney’s Office
Eastern District of Texas, Civil Division
Office: 903-510-9357
E-Mail: Whitney.Tharpe@usdoj.gov




From: Allison L. Spruill <allison@bestandspruill.com>
Sent: Thursday, April 11, 2024 5:21 PM
To: Tharpe, Whitney (USATXE) <WTharpe@usa.doj.gov>; FudgeBernal, Tangla L. (HHS/OGC)
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<Tangla.Fudge-Bernal@HHS.GOV>
Cc: Jeff Carruth <jcarruth@wkpz.com>; 'Andy Rye' <andy@steinltc.com>;
joshua@kilgoreproperty.com
Subject: [EXTERNAL] Re: Remarkable Fort Worth

I believe Jeff Carruth sent a detailed email last night about what the issues are and what everyone
needed help with. I also know that Liz Boyston sent a detailed letter to Tangla yesterday outlining
these issues as well. Thanks

Get Outlook for iOS

From: Tharpe, Whitney (USATXE) <Whitney.Tharpe@usdoj.gov>
Sent: Thursday, April 11, 2024 4:28:10 PM
To: Allison L. Spruill <allison@bestandspruill.com>; FudgeBernal, Tangla L. (HHS/OGC)
<Tangla.Fudge-Bernal@HHS.GOV>
Cc: Jeff Carruth <jcarruth@wkpz.com>; 'Andy Rye' <andy@steinltc.com>;
joshua@kilgoreproperty.com <joshua@kilgoreproperty.com>
Subject: RE: Remarkable Fort Worth

Allison,

Ms. Fudge-Bernal informed CMS after our call of your request for a conversation with Commander
Lewis. We will update you when we have an answer to that request. However, given the
circumstances previously discussed, Ms. Fudge-Bernal’s suggestion to send a written communication
which we will route to CMS remains unchanged.

Thank you,

Whitney

Whitney Tharpe
Assistant United States Attorney
United States Attorney’s Office
Eastern District of Texas, Civil Division
Office: 903-510-9357
E-Mail: Whitney.Tharpe@usdoj.gov




From: Allison L. Spruill <allison@bestandspruill.com>
Sent: Thursday, April 11, 2024 3:11 PM
To: Tharpe, Whitney (USATXE) <WTharpe@usa.doj.gov>; FudgeBernal, Tangla L. (HHS/OGC)
<Tangla.Fudge-Bernal@HHS.GOV>
Cc: Jeff Carruth <jcarruth@wkpz.com>; 'Andy Rye' <andy@steinltc.com>;
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joshua@kilgoreproperty.com
Subject: [EXTERNAL] Remarkable Fort Worth

Tangla and Whitney:

I have to leave for a doctor’s appointment in a few minutes, but just to clarify, my clients
and Pure Health would like to speak with Thornell Lewis (with whom Jeff Carruth has
previously spoken and whose name is on the 4/3/24 CMS letter) regarding pushing out the
termination date. We are not asking that the termination be rescinded, but for the effective
date to be pushed forward in order for the new operator, Pure Health, to get in the facility
(that is happening later today) and to be able to assure CMS and HHSC that this facility is
in substantial compliance with all regulations and that it will continue to be in compliance
moving forward. I know CMS has the discretion to move the termination date farther out,
and this is what we want to talk to Commander Lewis about. There has to be a way we can
get this accomplished. Thanks.


Allison Spruill
(512) 257-2104 office
(512) 750-5705 cell
